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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:06CR389
                                                  )
LUIS JACOLA-ECHEVERRIA,                           )                  ORDER
                                                  )
                       Defendant.                 )



        Before the court are the defendant’s Motion to Continue Hearing [51]. Good cause
being shown, the motion will be granted and the the evidentiary hearing on the sealed motion to
will be continued.

         IT IS ORDERED:

         1.     That the defendant’s Motion to Continue Hearing [51]; and

         2.     The evidentiary hearing on the Sealed Motion is continued to March 15, 2007 at
                1:30 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second
                Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha,
                Nebraska.

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.    An interpreter will be provided by the Court.

         DATED this 13th day of February, 2007.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
